                     UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF WISCONSIN


DAVID WHITEHEAD and
TERRI WHITEHEAD,
               Plaintiffs,

      v.                                            Case No. 15-C-0261

DISCOVER BANK and
MESSERLI & KRAMER, P.A.,
               Defendants.


                               DECISION AND ORDER

      The plaintiffs, David and Terri Whitehead, claim that the law firm of Messerli &

Kramer, P.A., violated the Fair Debt Collection Practices Act and the Wisconsin

Consumer Act during the course of two garnishment actions filed in Wisconsin state

court. The plaintiffs also claim that Messerli & Kramer’s actions caused Discover Bank

to violate the Wisconsin Consumer Act. Before me now is the defendants’ motion for

summary judgment.

                                 I. BACKGROUND


      David Whitehead defaulted on two separate debts to Discover Bank.          Terri

Whitehead is David’s spouse.     Discover retained Messerli & Kramer to collect Mr.

Whitehead’s accounts.

      On December 14, 2010, Messerli & Kramer commenced an action in Wisconsin

state court against Mr. Whitehead on behalf of Discover to collect one of the two

delinquent accounts. On January 3, 2011, an attorney, George Peek, entered a notice

of appearance in the action to defend Mr. Whitehead. On January 6, 2011, Messerli &


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Kramer commenced a second action in the same court against Whitehead on behalf of

Discover to collect the other delinquent account. Attorney Peek entered his appearance

in that action on January 26, 2011. By July 2011, the parties had settled both of these

cases and entered into stipulations that provided terms for Mr. Whitehead to pay the

delinquent accounts.   However, a short time later, Discover deemed Whitehead in

default under the stipulated payment schedules. On December 12, 2011, Discover, still

represented by Messerli & Kramer, obtained a judgment against Whitehead in one of

the state cases. On January 5, 2012, Discover obtained a judgment against Whitehead

in the other case.

       After the judgments were entered, Attorney Peek continued to be listed as

Whitehead’s counsel of record. Peek continued to represent Whitehead until April 8,

2013, when Whitehead informed Peek that he had obtained new counsel and wanted

Peek to transfer the file to his new counsel. Dep. of George Peek at 26–27, ECF No.

35. Peek did not file notices of withdrawal in the state-court cases, and Whitehead’s

new counsel did not immediately file notices of appearance in those cases. Neither

Peek nor Whitehead’s new counsel notified Discover or Messerli & Kramer that the

Whiteheads had obtained new counsel.

       On February 25, 2014, Messerli & Kramer learned that Whitehead had obtained

employment at a company called General Dynamics. Because Whitehead had yet to

satisfy the outstanding judgments, Messerli & Kramer commenced two earnings

garnishment actions in the state court that had entered the judgments—one

garnishment for each judgment. The garnishments were filed under the same case

numbers as the actions that resulted in the judgments. Messerli & Kramer commenced



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the first earnings garnishment on March 5, 2014, and it commenced the second

earnings garnishment on March 26, 2014.

       Under Wisconsin law, when a creditor commences an earnings garnishment, the

clerk of court issues the creditor two “earnings garnishment forms.”            Wis. Stat.

§ 812.35(2). The creditor must serve one of the garnishment forms on the garnishee,

who in this case was General Dynamics, Whitehead’s employer, and must serve the

other form “upon the debtor.”       Wis. Stat. § 812.35(3)–(4).     The contents of the

garnishment form are prescribed by statute. See Wis. Stat. § 812.44(3). The form

directs the garnishee to pay the creditor 20% of the debtor’s disposable earnings for

each pay period covered by the garnishment. The form contains other instructions for

the garnishee. As is relevant to this case, the form instructs the garnishee that it should

not withhold any of the debtor’s earnings if the garnishee receives an answer to the

garnishment form from the debtor that “claims a complete exemption or defense.” Wis.

Stat. § 812.44(3), ¶ 4.

       After commencing the garnishments, Messerli & Kramer served the garnishment

forms on General Dynamics. Messerli & Kramer also served the garnishment forms on

Attorney Peek, thinking that he was still Whitehead’s counsel for purposes of the two

delinquent accounts. Messerli & Kramer did not serve the garnishment forms on David

Whitehead personally.     Whitehead first learned of the garnishments when General

Dynamics informed him that it would be garnishing his wages. Whitehead claims that

learning of the garnishments from his employer rather than by service of the

garnishment forms caused him emotional distress.




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      On March 28, 2014, Whitehead, now represented by new counsel, filed an

answer to the garnishment, a counterclaim against Discover Bank, and a motion to

reopen the original judgment in one of the two cases. On April 24, 2014, Whitehead’s

new counsel filed an answer, counterclaim, and motion to reopen in the other case. In

his answers to the garnishments, Whitehead did not claim that his earnings were

exempt from garnishment, but he did assert several defenses to the garnishments. As

noted, the garnishment form instructs the garnishee that if it receives an answer from

the debtor claiming a complete exemption or defense, the garnishee must not withhold

the debtor’s earnings. However, General Dynamics did not follow this instruction. On

March 31, 2014, General Dynamics began withholding Whitehead’s earnings in

connection with one of the garnishments and sending them to Messerli & Kramer. On

July 7, 2014, Messerli & Kramer began receiving payments from General Dynamics in

connection with the other garnishment.

      Meanwhile, the court in the first garnishment scheduled a hearing for April 29,

2014. On April 11, 2014, a paralegal at Whitehead’s new counsel’s law firm sent an

email to Messerli & Kramer regarding the garnishment on which General Dynamics had

begun withholding earnings. The email stated:

      Attached is the notice of motion and motion to reopen and allow
      counterclaims in the above mentioned case. We believe that the
      garnishment in this case should be stayed pending the outcome of that
      hearing on April 29, 2014, and are wondering if you would stipulate to that.
      Please let me know your feelings on this as soon as possible so I can
      begin drafting a stipulation if need be.

Decl. of Brian Chou Ex. 1010, ECF No. 33-10. As far as the summary-judgment record

reveals, Messerli & Kramer did not respond to this email. At the court hearing on April




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29, 2014, the court denied Whitehead’s motion to reopen the case and to assert a

counterclaim.

      In the other garnishment action, a hearing was scheduled for August 8, 2014.

However, on August 6, 2014, Whitehead filed a petition to amortize his debts under Wis.

Stat. § 128.21. Under Wisconsin law, the filing of this petition prevented the defendants

from continuing to garnish Whitehead’s wages. See Wis. Stat. § 128.21(2). The parties

therefore asked the court to cancel the August 8 hearing, and so far as the summary-

judgment record reveals, no further action was taken on either garnishment following

the filing of the petition. Presumably, Whitehead paid the delinquent Discover Bank

accounts in full pursuant to his § 128.21 amortization plan.

      In March 2015, the Whiteheads commenced the present action, alleging that

certain actions taken by Messerli & Kramer during the garnishments resulted in

violations of the FDCPA and the Wisconsin Consumer Act. First, the Whiteheads claim

that by serving the garnishment forms on Attorney Peek rather than on Mr. Whitehead,

Messerli & Kramer and Discover Bank violated the service requirements of the

garnishment statute. The Whiteheads contend that this violation of the garnishment

statute amounted to the use of “an unfair or unconscionable means to collect or attempt

to collect any debt,” in violation of § 808 of the FDCPA, 15 U.S.C. § 1692f. They also

contend that this conduct violated the Wisconsin Consumer Act.             Second, the

Whiteheads claim that state law prohibited Messerli & Kramer and Discover Bank from

accepting payments from General Dynamics while Mr. Whitehead’s answers to the

garnishments were pending. They argue that, by accepting such payments, Messerli &

Kramer collected an amount not “permitted by law,” in violation of § 808(1) of the



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FDCPA, 15 U.S.C. § 1692f(1). They also argue that, by accepting such payments,

Messerli & Kramer and Discover Bank violated the Wisconsin Consumer Act.

      In an earlier stage of this case, the defendants moved to dismiss the plaintiffs’

complaint on the ground that the plaintiffs’ claims were barred by the Rooker-Feldman

doctrine, and also on the ground that the plaintiffs had failed to state claims upon which

relief could be granted. I rejected both grounds for dismissing this suit. See Whitehead

v. Discover Bank, 118 F. Supp. 3d 1111 (E.D. Wis. 2015). The defendants now move

for summary judgment on the plaintiffs’ claims.

                                    II. DISCUSSION

      Summary judgment is required where “there is no genuine dispute as to any

material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P.

56(a). When considering a motion for summary judgment, I take evidence in the light

most favorable to the non-moving party and must grant the motion if no reasonable juror

could find for that party.   Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248, 255

(1986).

A. Rooker-Feldman

      In their motion for summary judgment, the defendants ask me to reconsider my

earlier determination that the plaintiffs’ claims are not barred by the Rooker-Feldman

doctrine. This doctrine stems from two cases in which the Supreme Court determined

that district courts lack subject matter jurisdiction to consider cases that could be

characterized as attempts to obtain appellate review of state-court civil judgments. See

Rooker v. Fidelity Trust Co., 263 U.S. 413 (1923); District of Columbia Court of Appeals

v. Feldman, 460 U.S. 462 (1983). In these cases, the Court held that Congress vested



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appellate jurisdiction of such judgments in the Supreme Court exclusively.       See 28

U.S.C. § 1257; Rooker, 263 U.S. at 415–16; Feldman, 460 U.S. at 476. In a more

recent case, the Supreme Court made clear that this doctrine applies only in “limited

circumstances”—namely, in cases “brought by state-court losers complaining of injuries

caused by state-court judgments rendered before the district court proceedings

commenced and inviting district court review and rejection of those judgments.” Exxon

Mobil Corp. v. Saudi Basic Indus. Corp., 544 U.S. 280, 284, 291–92 (2005).

      In the present case, the defendants contend that the plaintiffs are complaining of

injuries caused by the garnishment forms, which the defendants contend are state-court

judgments for purposes of the Rooker-Feldman doctrine.          In my decision on the

defendants’ motion to dismiss, I agreed that the plaintiffs were complaining of injuries

caused by the garnishment forms, but I concluded that such forms were not state-court

judgments for purposes of the Rooker-Feldman doctrine.            See Whitehead, 118

F. Supp. 3d at 1115–16. However, since the date of my decision on the motion to

dismiss, Magistrate Judge Joseph of this court considered the question of whether a

Wisconsin garnishment form qualifies as an order or judgment for purposes of Rooker-

Feldman and concluded that it does. See Gonzales v. Kohn Law Firm, S.C., No. 13-

CV-168, 2015 WL 5794157, at *7 (E.D. Wis. Oct. 2, 2015). In another case decided

since the date on which I ruled on the motion to dismiss, Judge J.P. Stadtmueller of this

court agreed with Magistrate Judge Joseph’s conclusion that the garnishment form,

which Judge Stadtmueller described as a “garnishment order,” is a state-court judgment

for Rooker-Feldman purposes. See Andress v. Daubert Law Firm LLC, 144 F.Supp.3d

1034, 1040 n.5 (E.D. Wis. 2015). Judge Stadtmueller’s decision was appealed to the



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Seventh Circuit, and that court affirmed in an unpublished disposition, stating that

claims for injuries caused by the “garnishment orders” were barred by Rooker-Feldman.

See Andress v. Daubert Law Firm, LLC, __ F. App’x __, 2016 WL 3470990, at *1 (7th

Cir. June 24, 2016). It thus appears that the Seventh Circuit considers the garnishment

forms to be judgments for purposes of Rooker-Feldman. I will therefore reconsider my

earlier decision and conclude that, to the extent the plaintiffs are complaining of injuries

caused by the garnishment forms, their claims are barred by Rooker-Feldman and must

be dismissed for lack of subject matter jurisdiction.

       However, upon closer examination of the nature of the plaintiffs’ claims, I

conclude that they are not complaining of injuries caused by the garnishment forms and

are not “inviting district court review and rejection of” the garnishment forms. Exxon

Mobil Corp., 544 U.S. at 284. First, the plaintiffs’ claim alleging improper service of the

garnishment forms does not complain of an injury caused by the forms. Rather, the

plaintiffs complain of the injury caused by Messerli & Kramer’s actions in serving the

forms on Attorney Peek rather than on Mr. Whitehead, i.e., the emotional distress that

Mr. Whitehead allegedly suffered when he learned about the existence of the

garnishment actions from his employer rather than through service of the garnishment

forms. To resolve this claim, I will not have to review and reject the garnishment forms.

Rather, I will need to review Messerli & Kramer’s conduct in serving the forms and

determine whether such conduct resulted in violations of the FDCPA and the Wisconsin




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Consumer Act. Thus, the plaintiffs’ claim alleging improper service of the garnishment

forms is not barred by the Rooker-Feldman doctrine. 1

      Second, the plaintiffs’ claim that Messerli & Kramer improperly collected

payments from General Dynamics while Mr. Whitehead’s answers to the garnishments

were pending does not complain of an injury caused by the forms, and such claim does

not require me to review and reject the forms. Rather, this claim alleges that General

Dynamics violated the forms’ terms by sending payments to Messerli & Kramer while

the answers were pending, and that therefore when Messerli & Kramer accepted the

payments, it collected amounts not permitted by law. In other words, the plaintiffs are

not seeking appellate review of the garnishment forms, but rather are alleging that the

forms did not authorize the defendants’ conduct in the first place. The injuries they

complain of—the time value of the wrongfully garnished funds and the emotional

distress the plaintiffs allegedly experienced from having the funds withheld—were

caused not by the forms, but by General Dynamics’s failure to abide by state law and

the defendants’ subsequent acceptance of the wrongfully withheld funds. Accordingly,

this claim is not barred by the Rooker-Feldman doctrine.

B.    Merits

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   In deciding the defendants’ motion to dismiss, I understood the plaintiffs to be arguing
that improper service of the garnishment forms rendered both garnishment actions
invalid, and that therefore Messerli & Kramer’s actions in collecting the garnishment
payments violated the FDCPA because, in accepting such payments, Messerli &
Kramer collected amounts not permitted by law. It is not clear whether the plaintiffs
intend to pursue this line of argument, as they do not mention it in their response to the
defendants’ motion for summary judgment. However, to the extent that the plaintiffs
intend to claim that improper service rendered the collection of garnishment payments
illegal, such claim would be barred by Rooker-Feldman. That is because the plaintiffs
would be complaining of injuries caused by the garnishment forms, i.e., the payments
made by General Dynamics pursuant to the forms, and would be asking me to declare
the forms invalid due to lack of proper service.

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      1. Improper Service

      In their briefs, the parties dispute whether, as a matter of Wisconsin law, Messerli

& Kramer was required to serve Mr. Whitehead with the garnishment forms, or whether

service on Attorney Peek was proper. However, I conclude that I do not have to resolve

this question because, even if service on Peek was improper as a matter of Wisconsin

law, it did not result in a violation of either the FDCPA or the Wisconsin Consumer Act.

      Section 808 of the FDCPA provides that “[a] debt collector may not use unfair or

unconscionable means to collect or attempt to collect any debt.” 15 U.S.C. § 1692f.

This section then identifies certain specific conduct that amounts to unfair or

unconscionable means. Improperly serving court papers is not identified as specific

conduct that is unfair or unconscionable.       Moreover, under the facts of this case,

Messerli & Kramer’s serving the garnishment forms on Peek rather than Whitehead

could not reasonably be considered unfair or unconscionable.             The Wisconsin

garnishment statute does not state that a creditor must serve the garnishment form on

the debtor even if the debtor is represented by an attorney, see Wis. Stat.

§ 812.35(3)(a), and no court has interpreted the statute to require service on the debtor

rather than on his or her attorney. Further, Messerli & Kramer had reason to think that

Peek still represented Whitehead at the time it initiated the garnishments, in that Peek

had represented Whitehead in the cases that resulted in the underlying judgments and

no one informed Messerli & Kramer or Discover Bank that Whitehead had obtained new

counsel. Finally, Messerli & Kramer’s serving Peek rather than Whitehead did not result

in Discover Bank’s obtaining an unfair advantage in the garnishment actions. Rather,

Whitehead still obtained prompt notice of the garnishments, and his attorney filed



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answers to the garnishments before General Dynamics sent any of his earnings to

Messerli & Kramer. The plaintiffs do not identify any way in which the lack of proper

service prejudiced Mr. Whitehead’s defense to the garnishments.

      The only harm that the plaintiffs claim they suffered from the allegedly improper

service is the emotional distress that Mr. Whitehead allegedly experienced when he

learned about the garnishments from his employer, rather than from service of the

garnishment forms. See Pls.’ Statement of Add’l Facts ¶¶ 3–4. Whitehead claims that

he suffered this emotional distress because he was unable to approach his manager at

General Dynamics and tell him to expect the garnishment paperwork before General

Dynamics was served with it. See Whitehead Dep. at 58:1–14. However, the service

provisions of the garnishment statute are not designed to ensure that the debtor

receives notice of the garnishments before his or her employer. Rather, under the

statute, the creditor can wait as long as seven business days after the date of service

on the garnishee to serve the debtor. See Wis. Stat. § 812.35(4)(c). Moreover, even if

Messerli & Kramer had served Whitehead and General Dynamics simultaneously,

General Dynamics likely would have received the garnishment forms before Whitehead

had been able to warn his manager to expect them. Messerli & Kramer’s failure to

serve the garnishment forms on Whitehead rather than on Peek therefore cannot

reasonably be regarded as the use of an “unfair or unconscionable means to collect or

attempt to collect any debt.” 15 U.S.C. § 1692f.

      The plaintiffs also contend that Messerli & Kramer’s failure to serve Whitehead

personally resulted in a violation of § 807 of the FDCPA, which prohibits a debt collector

from using “any false, deceptive, or misleading representation or means in connection



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with the collection of any debt.” 15 U.S.C. § 1692e. However, it is not reasonable to

characterize the failure to serve Whitehead personally as a “false, deceptive, or

misleading representation or means.”      Simply put, the failure to properly serve the

garnishment forms did not involve any false, deceptive, or misleading conduct.

Accordingly, Messerli & Kramer’s service of the forms on Peek did not result in a

violation of § 1692e.

       As for the Wisconsin Consumer Act, it prohibits a creditor from “[c]laim[ing], or

attempt[ing] or threaten[ing] to enforce a right with knowledge or reason to know that the

right does not exist.” Wis. Stat. § 427.104(j). Serving a garnishment form on the wrong

person cannot reasonably be construed as a violation of this provision. Accordingly,

service on Peek did not result in either Messerli & Kramer or Discover Bank committing

a violation of the Wisconsin Consumer Act.

       2. Collecting Payments While Answers Pending

       The Wisconsin earnings garnishment statute provides that, unless the garnishee

is “served with an order of the court directing otherwise,” the garnishee must “accept as

true and binding any exemption claimed in the debtor’s answer . . . received before

payment is made to the creditor.” Wis. Stat. § 812.37(3). Further, the garnishment form

contains the following instruction to the garnishee: “If the debtor’s answer form claims a

complete exemption or defense, do not withhold or pay to the creditor any part of the

debtor’s earnings under this garnishment unless you receive an order of the court

directing you to do so.” Wis. Stat. § 812.44(3), ¶ 4. In my prior order, I interpreted

these provisions as meaning that General Dynamics should not have garnished

Whitehead’s earnings once it was served with Whitehead’s answers, which asserted



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defenses to the garnishments.        Whitehead, 118 F. Supp. 3d at 1118–20. I also

concluded that Messerli & Kramer’s accepting the payments from General Dynamics

“could be described” as the collection of an amount prohibited by law, in violation of 15

U.S.C. § 1692f(1), and also as claiming a right with knowledge or reason to know that

the right does not exist, in violation of Wis. Stat. § 427.104(1)(j). Id. at 1120. I therefore

concluded that the plaintiffs had stated valid claims under the FDCPA and Wisconsin

Consumer Act. However, I did not conclude that, as a matter of law, accepting the

payments amounted to violations of both the FDCPA and the Wisconsin Consumer Act.

For the reasons below, I now conclude that the defendants’ having accepted the

payments did not result in violations of these statutes.

       The earnings garnishment statute does not state that a creditor may not accept

garnishment payments that the garnishee wrongfully withheld from the debtor’s

earnings. Rather, the statute provides that the garnishee is liable to the debtor for

actual damages if it “deducts more from the debtor’s earnings than is authorized by this

subchapter.” Wis. Stat. § 812.41(2). No similar provision grants the debtor a claim

against the creditor for accepting earnings that the garnishee wrongfully deducted. Nor

does the statute instruct the creditor to return wrongfully deducted earnings to the

garnishee or to forward them to the debtor. The statutory scheme thus indicates that if

the garnishee wrongfully withholds the debtor’s earnings and sends them to the creditor,

the creditor may accept the payments, and the debtor’s remedy for having his earnings

wrongfully garnished lies against the garnishee. Alternatively, the debtor may seek an

order from the garnishment court directing the garnishee to cease withholding earnings

until the court resolves the matters raised by the answer. See Wis. Stat. § 812.38(1)(c)



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(stating that “[a]ny party to the earnings garnishment may move the court to order any

other party to comply with the provisions of this subchapter, or for other equitable

relief”). For these reasons, I conclude that Wisconsin law allowed Messerli & Kramer

and Discover Bank to accept the garnishment payments sent by General Dynamics. It

follows that, in accepting those payments, Messerli & Kramer did not collect an amount

not “permitted by law,” in violation of § 1692f. It also follows that, in accepting the

payments, Messerli & Kramer and Discover Bank did not claim a right with knowledge

or reason to know that the right did not exist, in violation of Wis. Stat. § 427.104(1)(j).

       The plaintiffs point out that, in this case, Messerli & Kramer did more than merely

collect the payments that General Dynamics wrongfully withheld: it also ignored the

plaintiffs’ request to stipulate that the first garnishment should be “stayed” pending the

outcome of a hearing that the court had scheduled for the end of April 2014. The

plaintiffs’ argument seems to be that Messerli & Kramer engaged in unfair or

unconscionable conduct by refusing to enter into the stipulation while knowing that

General Dynamics was mistakenly sending garnishment payments. For purposes of

this argument, I will assume that if Messerli & Kramer knew that General Dynamics was

violating the garnishment statute by sending payments despite the pendency of an

answer, then Messerli & Kramer’s ignoring the plaintiffs’ request to stipulate to a stay of

the garnishment could be deemed unfair or unconscionable. However, as I discussed

in my decision on the motion to dismiss, the earnings garnishment statute contains

conflicting provisions regarding the effect of an answer on the garnishee’s duties. On

the one hand, the statute states that a garnishee must “accept as true and binding any

exemption claimed in the debtor’s answer” but does not state that the garnishee must



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also accept as true and binding a defense alleged in an answer. Wis. Stat. § 812.37(3).

On the other hand, the garnishment form instructs the garnishee not to withhold any of

the debtor’s earnings if it receives an answer that “claims a complete exemption or

defense.” Wis. Stat. § 812.44(3), ¶ 4 (emphasis added). Until I decided the motion to

dismiss, no court had interpreted these provisions as requiring a garnishee to stop

withholding the debtor’s earnings when served with an answer that asserts a defense

but does not claim an exemption. Thus, at the time that Messerli & Kramer ignored the

plaintiffs’ request to stipulate to a stay of the garnishment, it was not clear that General

Dynamics had sent the payments in violation of its duties under the garnishment statute.

Moreover, the email in which the paralegal stated that the plaintiffs “believe[d]” the

garnishment should be stayed did not identify the basis for their belief or argue that the

garnishment statute requires the garnishee to stop deducting the debtor’s earnings once

it is served with an answer asserting a defense.     Rather, the email merely mentioned

that the plaintiffs had filed a motion to reopen the underlying judgment, which was not

itself a basis for staying the garnishment.      Under these circumstances, Messerli &

Kramer cannot be charged with knowledge that General Dynamics was making

deductions from Whitehead’s earnings in violation of the garnishment statute.            Its

refusal to stipulate to a stay of the garnishments therefore cannot reasonably be

characterized as unfair or unconscionable conduct.

                                    III. CONCLUSION


       For the reasons stated, IT IS ORDERED that the defendants’ motion for

summary judgment is GRANTED. The Clerk of Court shall enter final judgment.




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Dated at Milwaukee, Wisconsin, this 22nd day of November, 2016.



                         s/Lynn Adelman________________________
                         LYNN ADELMAN
                         District Judge




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